On April 16, 2018, the Board of Professional Conduct filed a final report in the office of the clerk of this court pursuant to Gov.Bar R. V(16), in which the board accepted the agreement entered into by relator, disciplinary counsel, and respondent, Thomas Locke Mason. The agreement set forth the misconduct and the agreed, recommended sanction of a six-month suspension from the practice of law, with the entire suspension stayed on the condition that respondent engage in no further misconduct. The board recommended that the agreement be accepted. The court issued an order waiving the issuance of a show-cause order, and this matter was submitted to the court on the report and record filed by the board. It is hereby ordered by the court that the recommended sanction is rejected. It is further ordered that pursuant to Gov.Bar R. V(17)(D), this cause is remanded to the Board of Professional Conduct for further proceedings, including consideration of a more severe sanction. Proceedings before this court in this caseare stayed until further order of this court. Costs to abide final determination of the case.